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lN THE UNITED STATES DlSTRlCT COURT
FOR THE NORTHERN DlSTRlCT OF OHlO
EASTERN DlVlSlON

 

 

UNITED STATES OF AMERICA, ) CASE NO.: l:lSCR708
)
Plaintit`f, ) .IUDGE: CHRISTOPHER A. BOYKO
)
v. )
)
KENNETH TYSON, ) ORDER TO UNSEAL SEARCH
) WARRANT, APPLICATION AND
Defendant. ) AFFIDAVIT IN SUPPORT
)

Upon motion of the United States of America, and for good cause shown, it is
ORDERED that the Government may disclose copies of the search warrant and supporting
aft`ldavit, application, and return issued and executed in relation to this case (issued under Case
Nos. l:lSMJ3286), which is presently under seal, to defense counsel of record, who is permitted
to review these documents with his respective client but retain physical possession of all copies
of these sealed documents, and that the orders currently in place sealing such documents will

otherwise remain intact.

C¢MMJ.PM Ct<@@yL

CHRlSTOPl-IE`,R A. BOYKO
UNITED STATES DISTRICT JUDGE

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